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 4   Telephone: (916) 554-2722
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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) No. 2:09-cr-00321-MCE
                                  )
12                    Plaintiff, )
                                  ) STIPULATION AND ORDER RESETTING
13                v.              ) STATUS CONFERENCE AND EXCLUDING
                                  ) TIME UNDER THE SPEEDY TRIAL ACT
14   MICHAEL DAVES,               )
                                  ) DATE: March 25, 2010
15                    Defendant. ) TIME: 9:00 a.m.
     _____________________________) CTRM: Hon. Morrison C. England, Jr.
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          The United States of America, through counsel of record,
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     Assistant United States Attorney Robin R. Taylor, and defendant
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     Michael Daves, by an through his counsel of record, Michael Bigelow
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     Esq., hereby submit this stipulation and proposed order regarding
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     the status conference set for February 12, 2010.        The parties desire
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     to move this appearance to March 25, 2010.
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          The defendant moves that time be excluded from February 12,
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     2010, through March 25, 2010, from computation of time within which
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     the trial of this case must be commenced, pursuant 18 U.S.C. §
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     3161(h)(7)(B)(iv) (Local code T4 - to give counsel reasonable time
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     to prepare).   Mr. Bigelow represents that he needs time review
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     discovery, meet with his client, and meet with the government.
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 1   The defendant is aware of the request for continuance and approves
 2   of it.
 3                                                 Respectfully submitted,
 4                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
 5
 6   Dated: February 10, 2010             By:        /s/ Robin Taylor
                                                   ROBIN TAYLOR
 7                                                 Assistant U.S. Attorney
                                                   Attorneys for Plaintiff
 8
 9   DATED: February 10, 2010            By:       /s/ Michael Bigelow
                                                   MICHAEL BIGELOW
10                                                 Attorney for Defendant
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13                                         ORDER
14        For good cause shown above,
15        IT IS SO ORDERED.
16
     Dated: February 11, 2010
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18                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
19                                         UNITED STATES DISTRICT JUDGE
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